Case 1:07-cr-00056-MAC-KFG Document 158 Filed 09/30/20 Page 1 of 1 PageID #: 1154




   UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                         §
                                                   §
  versus                                           §   CASE NO. 1:07-CR-56
                                                   §
  JOSEPH WAYNE HOPKINS                             §

       MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

           The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

  Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a

  hearing and submitted findings of fact and a recommendation on the defendant’s plea of true. The

  defendant consented to the revocation of his supervised release and waived his right to be present

  and allocute at sentencing. The parties have not objected to Judge Giblin’s report.

           The Court ORDERS that the findings of fact and recommendation on plea of true (#156)

  are ADOPTED. The Court finds that the defendant, Joseph Wayne Hopkins, violated conditions

  of supervised release and ORDERS that his supervision is REVOKED. Pursuant to Judge Giblin’s

  recommendation and the parties’ agreement, the Court ORDERS the defendant to serve a term of

  twenty-one (21) months imprisonment, with no additional supervision to follow.


              SIGNED at Beaumont, Texas, this 30th day of September, 2020.




                                                 ________________________________________
                                                             MARCIA A. CRONE
                                                      UNITED STATES DISTRICT JUDGE
